     Case 20-10273-jal                  Doc 10            Filed 03/20/20       Entered 03/21/20 01:03:19                  Page 1 of 4
Information to identify the case:
Debtor 1               John Lowell Harlan                                               Social Security number or ITIN        xxx−xx−8217
                       First Name   Middle Name     Last Name                           EIN _ _−_ _ _ _ _ _ _
Debtor 2               Martha Lee Harlan                                                Social Security number or ITIN        xxx−xx−5124
(Spouse, if filing)
                       First Name   Middle Name     Last Name                           EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court             Western District of Kentucky
                                                                                        Date case filed for chapter 7 3/17/20
Case number:          20−10273−jal


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                  About Debtor 1:                                    About Debtor 2:

1.      Debtor's full name                        John Lowell Harlan                                 Martha Lee Harlan

2.      All other names used in the aka John Harlan, aka John L. Harlan, fdba Kitchen                aka Martha Harlan, aka Martha D. Harlan,
        last 8 years                Corner                                                           aka Matha L. Harlan, aka Martha Lee Dicken
                                                                                                     Harlan, fdba Kitchen Corner

3.     Address                                209 S Cross St                                         209 S Cross St
                                              Albany, KY 42602                                       Albany, KY 42602

4.     Debtor's attorney                      John C. Rogers                                        Contact phone (270) 651−7777
                                              111 West Wayne Street
       Name and address                       Glasgow, KY 42141                                     Email: bankruptcy@glasgow−ky.com

5.     Bankruptcy trustee                     Mark H. Flener                                        Contact phone (270) 783−8400
                                              P.O. Box 8
       Name and address                       1143 Fairway Street, Suite 101                        Email: mark@Flenerlaw.com
                                              Bowling Green, KY 42102−0008
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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Debtor John Lowell Harlan and Martha Lee Harlan                                                                       Case number 20−10273−jal


6. Bankruptcy clerk's office                    450 U.S. Courthouse                                          Hours open:
                                                601 W. Broadway                                              8:30 a.m. to 4:30 p.m. Eastern
    Documents in this case may be filed at this Louisville, KY 40202                                         Time Zone
    address. You may inspect all records filed
    in this case at this office or online at
    www.pacer.gov.                                                                                           Contact phone 502−627−5700

                                                                                                             Date: 3/18/20

7. Meeting of creditors                          May 8, 2020 at 10:30 AM                                     Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              William Natcher Federal
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            Courthouse, 241 East Main
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket. Case may be dismissed without further               Street, Third Floor, Bowling
                                                 notice if debtor fails to attend the meeting.               Green, KY 42101

8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 7/7/20
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
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         Case 20-10273-jal            Doc 10        Filed 03/20/20         Entered 03/21/20 01:03:19                 Page 3 of 4
                                               United States Bankruptcy Court
                                               Western District of Kentucky
In re:                                                                                                     Case No. 20-10273-jal
John Lowell Harlan                                                                                         Chapter 7
Martha Lee Harlan
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0644-1                  User: aallen                       Page 1 of 2                          Date Rcvd: Mar 18, 2020
                                      Form ID: 309A                      Total Noticed: 21


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 20, 2020.
db/jdb         +John Lowell Harlan,   Martha Lee Harlan,   209 S Cross St,    Albany, KY 42602-1203
6675431        +Commonwealth Financial Resources,   800 Park St.,   PO Box 90010,
                 Bowling Green, KY 42102-9010
6675432        +First & Farmers Bank,   200 S. Washington Street,   Albany, KY 42602-1226
6675433        +Independent Bank,   PO Box 790408,   Saint Louis, MO 63179-0408
6675440         The Medical Center at Albany,   723 Old Burkesville Rd,    Albany, KY 42602

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: bankruptcy@glasgow-ky.com Mar 18 2020 21:21:31       John C. Rogers,
                 111 West Wayne Street,   Glasgow, KY 42141
tr             +EDI: BMHFLENER.COM Mar 19 2020 00:03:00      Mark H. Flener,    P.O. Box 8,
                 1143 Fairway Street, Suite 101,    Bowling Green, KY 42103-2452
ust            +E-mail/Text: ustpregion08.lo.ecf@usdoj.gov Mar 18 2020 21:24:03       Charles R. Merrill,
                 Asst. U.S.Trustee,   601 West Broadway #512,    Louisville, KY 40202-2229
6675425        +EDI: BANKAMER.COM Mar 19 2020 00:03:00      Bank of America,    4909 Savarese Circle,
                 FL1-908-01-50,   Tampa, FL 33634-2413
6675426        +EDI: CAPITALONE.COM Mar 19 2020 00:03:00      Capital One,    Attn: Bankruptcy,   PO Box 30285,
                 Salt Lake City, UT 84130-0285
6675427        +E-mail/Text: bncnotices@becket-lee.com Mar 18 2020 21:22:25       Capital One - Kohls,
                 PO Box 3043,   Milwaukee, WI 53201-3043
6675429        +EDI: CITICORP.COM Mar 19 2020 00:03:00      Citi Cards,    Citicorp Credit Services,
                 Centralized Bankruptcy,   PO Box 790040,    Saint Louis, MO 63179-0040
6675430        +EDI: WFNNB.COM Mar 19 2020 00:03:00      Comenity Bank - Roamans,    PO Box 182125,
                 Columbus, OH 43218-2125
6675428         EDI: JPMORGANCHASE Mar 19 2020 00:03:00      Chase Card Services,    Attn: Correspondence Dept.,
                 PO Box 15298,   Wilmington, DE 19850
6675434         EDI: RMSC.COM Mar 19 2020 00:03:00      Synchrony Bank - Care Credit,    Attn: Bankruptcy,
                 PO Box 965060,   Orlando, FL 32896-5060
6675435        +EDI: RMSC.COM Mar 19 2020 00:03:00      Synchrony Bank - Gap,    PO Box 965064,
                 Orlando, FL 32896-5064
6675436        +EDI: RMSC.COM Mar 19 2020 00:03:00      Synchrony Bank - JC Penney,    PO Box 965064,
                 Orlando, FL 32896-5064
6675437         EDI: RMSC.COM Mar 19 2020 00:03:00      Synchrony Bank - PayPal Credit Services,
                 Attn: Bankruptcy Dept.,   PO Box 965060,    Orlando, FL 32896-5061
6675438        +EDI: RMSC.COM Mar 19 2020 00:03:00      Synchrony Bank - QVC,    PO Box 965060,
                 Orlando, FL 32896-5060
6675439        +EDI: RMSC.COM Mar 19 2020 00:03:00      Synchrony Bank - Sam’s Club,    Attn: Bankruptcy,
                 PO Box 965060,   Orlando, FL 32896-5060
6675441         EDI: USBANKARS.COM Mar 19 2020 00:03:00      US Bank,   PO Box 5229,    Cincinnati, OH 45201
                                                                                              TOTAL: 16

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 20, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 18, 2020 at the address(es) listed below:
              Charles R. Merrill   ustpregion08.lo.ecf@usdoj.gov
              John C. Rogers   on behalf of Joint Debtor Martha Lee Harlan bankruptcy@glasgow-ky.com,
               r49650@notify.bestcase.com
              John C. Rogers   on behalf of Debtor John Lowell Harlan bankruptcy@glasgow-ky.com,
               r49650@notify.bestcase.com
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District/off: 0644-1         User: aallen                 Page 2 of 2                  Date Rcvd: Mar 18, 2020
                             Form ID: 309A                Total Noticed: 21


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Mark H. Flener   mark@Flenerlaw.com, ky11@ecfcbis.com;deanna@flenerlaw.com
                                                                                            TOTAL: 4
